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                     BEFORE THE UNITED STATES JUDICIAL PANEL
                          ON MULTIDISTRICT LITIGATION


          In re: CASH SWEEP PROGRAMS
                 CONTRACT LITIGATION                                   MDL: 3136


                 MEMORANDUM OF UBS FINANCIAL SERVICES INC.
            IN OPPOSITION TO MDL PLAINTIFFS’ MOTION FOR TRANSFER
                AND CENTRALIZATION PURSUANT TO 28 U.S.C. § 1407

          UBS Financial Services Inc. (“UBS”) respectfully submits this memorandum in opposition

to a motion (the “Motion”) of Safron Capital Corp. and Brickman Investments Inc. (the “MDL

Plaintiffs”), under purported authority of 28 U.S.C. § 1407, to transfer and consolidate at least 31

factually distinct actions (the “Pending Actions”) against 12 separate and unrelated financial

service firms (“Defendants”) that are already being litigated in their respective jurisdictions. Each

Pending Action involves unique contractual agreements and disclosures between Defendants and

the plaintiffs in the various Pending Actions related to unique “cash sweep” programs separately

and independently promulgated, disclosed, and administered by each Defendant exclusively for

their respective advisory and brokerage clients.

          As set forth below, there are few, if any, “common questions of fact” among the Pending

Actions, and the transfer and consolidation of the Pending Actions will not further “the

convenience of the parties” or the “just and efficient conduct” of the actions. Accordingly, the

Motion fails to meet any of the three requirements set forth in Section 1407(a) and should be

denied.

                                   PROCEDURAL HISTORY

          UBS is named as a defendant in two Pending Actions in the United States District Court

for the Southern District of New York (Goldsmith and Davitt) that are being actively litigated

before U.S. District Judge Gregory H. Woods and U.S. Magistrate Judge Gabriel W. Gorenstein,
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and which are already consolidated under Rule 42(a) of the Federal Rules of Civil Procedure.

Goldsmith was filed on August 22, 2024. See Goldsmith v. UBS Financial Servs. Inc., 24-CV-6354

(S.D.N.Y.) (“Goldsmith”) at Dkt. 1. Davitt was filed on September 3, 2024. See Davitt v. UBS

Financial Servs. Inc., 24-CV-6692 (S.D.N.Y.) (“Davitt”) at Dkt. 1. By order dated November 1,

2024, the Court appointed three law firms as Interim Class Counsel, see Goldsmith at Dkt. 30, and

thereafter endorsed the parties’ joint stipulation for filing of a consolidated amended complaint

and threshold motion briefing. Id. at Dkt. 30, 31. An initial case management conference is set

for Thursday, January 9, 2025. Id. at Dkt. 32.1

       According to the Motion, the MDL Plaintiffs have brought putative class action claims

against three unrelated financial services companies (Bank of America, Morgan Stanley, and Wells

Fargo), each of which post-dates the filing of the Goldsmith and Davitt actions. See Motion at

Dkt. 1-2. The Motion does not allege that the MDL Plaintiffs have any relevant relationship,

adverse or otherwise, with UBS.

                                    LEGAL STANDARD

       Section 1407 authorizes the coordination or consolidation of cases based on “common

questions of fact,” whereas “transfer is inappropriate in cases involving common legal questions

and disparate factual issues.” Multidistrict Litig. Manual, § 5:4 (where common issues are

“primarily legal in nature . . . the Panel is nearly certain to conclude that transfer is not

appropriate”) (citing cases); In re Supplemental Nutrition Assistance Program Litig.,

619 F. Supp. 3d 1348, 1348 (J.P.M.L. 2022) (denying centralization where the principal common

questions were “legal rather than factual” and where factual questions were “largely [case]-


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   UBS also notes that it has been named in one putative class action regarding its “sweeps”
program filed after the MDL motion. See DM Cohen, Inc. v. UBS Financial Servs. Inc., No. 1:24-
cv-5226-SDG (N.D. Ga.).


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specific”); In re: Bank of America Home Affordable Modification Program (HAMP) Cont. Litig.,

746 F.Supp.2d 1359, 1361 (J.P.M.L. 2010) (transfer unwarranted where “individual issues of fact”

predominate); In re Asbestos School Products Liability Litig., 606 F. Supp. 713, 714 (J.P.M.L.

1985) (same).

                                         ARGUMENT

I.     The Pending Actions Do Not Share Common Questions of Fact.

       Defendants each promulgated, disclosed, and administered unique “cash sweep” programs

governed by unique customer agreements and disclosures, exclusively for their respective banking

and brokerage clients.    Accordingly, there are no meaningful “common questions of fact”

warranting consolidation under Section 1407(a).

       For example, plaintiff in Goldsmith allegedly opened retail brokerage accounts with UBS

from which cash balances were allegedly swept into UBS’s “Insured Sweep Program” since 2021.

Goldsmith, Dkt. 1 at ¶¶ 5–6. 30. UBS allegedly paid a specific tiered interest rate dependent upon

the specific balance maintained in the relevant UBS accounts. Id. at ¶ 19. Plaintiff in Davitt

likewise allegedly maintained retail brokerage accounts with UBS from which cash balances were

allegedly swept into one or more affiliated banks. Davitt, Dkt. 1 at ¶ 11. Plaintiffs in Goldsmith

and Davitt allege that UBS’s “cash sweep” program violated fiduciary duties allegedly owed to

UBS’s customers, and assert other common law and statutory claims, see Goldsmith, Dkt. 1 at

¶¶ 75–87; Davitt, Dkt. 1 at ¶¶ 54–89, based on (among other things) the specific contractual

agreements and disclosures made by UBS to its customers. See, e.g., Davitt, Dkt. 1 at ¶¶ 21–41.

       Adjudication of the claims made in Goldsmith and Davitt will involve consideration of,

among other things, the language of the relevant contracts and disclosures between UBS and its

customers. This inquiry simply does not raise any meaningful “common questions of fact”




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warranting consolidation of these cases with the other Pending Actions against other unrelated

Defendants under Section 1407(a).

       The Motion does not seriously contend otherwise. While the MDL Plaintiffs assert, in

conclusory form, that the Pending Actions raise seven “common factual and legal questions,” see

Motion at 4, the cursory nature of this list, and disjunctive use of “legal,” fall far short of the

showing required under Section 1407(a). Contrary to the ipse dixit in the Motion, if the Pending

Actions survive threshold motion practice based on individualized issues raised by the unique

contractual agreements and disclosures applicable to each Defendants’ relationship with its own

customers, individualized discovery would then be needed on each of the seven “factual and legal”

issues proposed by the MDL Plaintiffs. This need for individualized discovery “tilts the balance

against centralization.” In re CVS Caremark Corp. Wage and Hour Emp’t Practices Litig.,

684 F. Supp. 2d 1377 (J.P.M.L. 2010) (citing In re: Rite Aid Corp. Wage and Hour Emp’t

Practices Litig., 655 F. Supp. 2d 1376, 1377); In re Baby Food Mktg., Sales Practices & Prod.

Liab. Litig., 544 F. Supp. 3d 1375 (J.P.M.L. 2021).

       While the MDL Plaintiffs rely on a slew of inapplicable antitrust cases, see, e.g., Motion

at 3, the Pending Actions involves “no allegations of conspiracy and no defendant is named in an

action alongside a [bank] competitor.” In re Secondary Ticket Market Refund Litigation, 844

F. Supp. 2d 1377 (J.P.M.L. 2012) (citation omitted). “Nor is this a situation where all parties

support centralization.” See In re Benzoyl Peroxide Marketing, Sales Practices and Prods. Liab.

Litig., 2024 WL 3629067 (Mem), at *2 (JPML Aug. 1, 2024). Rather, each plaintiff’s alleged

injury is traceable to each Defendants’ individually-designed sweep program. Id.2




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  Transfer is particularly unwarranted for “requests to centralize claims filed against multiple
defendants who are competitors in a single MDL because it often will not promote judicial


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       Absent common questions of fact, the Motion should be denied.

II.    Considerable Consolidation Efforts Already Promote Just and Efficient Conduct.

        Centralization under Section 1407 “should be the last solution after considered review of

all other options.” In re Gerber Probiotic Prods. Mktg. & Sales Practices Litig., 899 F. Supp. 2d

1378, 1379 (J.P.M.L. 2012) (quoting In re Best Buy Co., Inc., Cal. Song–Beverly Credit Card Act

Litig., 804 F. Supp. 2d 1376, 1378 (J.P.M.L. 2011)). “[W]here a reasonable prospect exists that

the resolution of a Section 1404 motion or motions could eliminate the multidistrict character of a

litigation, transfer under Section 1404 is preferable to Section 1407 characterization.” Id.; In re

ATM Interchange Fee Antitrust Litig., 350 F. Supp. 2d 1361 (JPML 2004). Moreover, for cases

involving competing defendants and without overlapping factual claims, such as this one, the Panel

recently endorsed “defendant-specific ‘hubs’” as likely the most efficient means of moving

litigation toward resolution. See In re Benzoyl Peroxide, 2024 WL 3629067, at *2.

       Here, the underlying parties have already taken significant steps to consolidate proceedings

outside of the MDL process, with the majority of cases already collected by the parties into a single

district, typically proximate to Defendants’ headquarters. See Dkt. 1-2 (three of four actions

against Ameriprise in District of Minnesota; three of four actions against Schwab in Central

District of California; four actions against LPL Financial in Southern District of California; four

of six actions against Wells Fargo in Northern District of California). Several scheduled Pending

Actions, including those against Wells Fargo and UBS, have been further consolidated under Rule

42(a) of the Federal Rules of Civil Procedure, for “just and efficient” conduct and the convenience

of the parties, and further transfer and consolidation proceedings are pending. See, e.g., Lourenco




efficiency or serve the convenience of the parties and witnesses.” In re Secondary Ticket, 844 F.
Supp. 2d at 1346; In re Benzoyl Peroxide, 2024 WL 3629067, at *2.


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v. Ameriprise Fin., Inc., No. 2:24-cv-08825-MRA-KS (C.D. Cal.) at Dkt. 26; Chakravarthy v.

Wells Fargo & Co., No. 2:24-cv-08831-FMO-BFM (C.D. Cal.) at Dkt. 19; Brickman Investments

Inc. v. Wells Fargo & Co., No. 1:24-cv-07751-AS (S.D.N.Y.) at Dkt. 17. There is simply no need

for consolidation under Section 1407(a) in these circumstances.

       WHEREFORE, Defendant UBS Financial Services respectfully requests that the Panel

deny Plaintiff’s motion for transfer and consolidation.


Dated: November 27, 2024                             Respectfully submitted,

                                                     By: /s/ David L. Goldberg

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                                    PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that a copy of the forgoing Memorandum of

UBS Financial Services Inc. in Opposition to MDL Plaintiffs’ Motion for Transfer and

Centralization Pursuant to 28 U.S.C. § 1407 and this Proof of Service were electronically filed

with the Court’s Office using the Court’s CM/ECF system and served upon all counsel of record

by this Court’s CM/ECF system.



Dated: November 27, 2024                            Respectfully submitted,

                                                    By: /s/ David L. Goldberg

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